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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   4:06CR3023
                                           )
              v.                           )
                                           )
CHARLES BOWERS,                            )                     ORDER
FREDRICK ROBERTSON,                        )
SHAWN TULL,                                )
                                           )
                     Defendants.           )


       A conference call with counsel was held. On the joint oral motion of the parties,

       IT IS ORDERED that:

       (1)    Trial of this case as to all defendants is continued to 9:00 a.m., Monday,
October 30, 2006, as the first criminal case, before the undersigned United States district
judge, in Lincoln, Nebraska. Since this is a criminal case, the defendants shall be present
unless excused by the court.

       (2)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161(h)(1)(I)&
(h)(8)(A)(B).

       July 28, 2006.                     BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
